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1    STEVEN W. MYHRE
     Acting United States Attorney
2    Nevada Bar No. 9635
     CHRISTOPHER BURTON
3    Assistant United States Attorney
     Nevada Bar No. 12940
4    District of Nevada
     501 Las Vegas Blvd. South, Suite 1100
5    Las Vegas, Nevada 89101
     (702) 388-6336
6    Christopher.Burton4@usdoj.gov

7    Representing the United States of America

8
                          UNITED STATES DISTRICT COURT
9                              DISTRICT OF NEVADA
10
     United States of America,
11                                                       Case No. 2:17-mj-918-GWF
                     Plaintiff,
12
                     v.
13
     MAURICE RASHADD FITZGERALD,
14
                     Defendant.
15

16

17                  STIPULATION TO CONTINUE PRELIMINARY HEARING

18          IT IS HEREBY STIPULATED AND AGREED, by and between Steven W. Myhre,

19   Acting United States Attorney, and Christopher Burton, Assistant United States Attorney,

20   counsel for the United States of America; Rebecca Levy, counsel for Defendant Maurice Rashadd

21   Fitzgerald, that the preliminary hearing for the above-captioned matter, currently scheduled for

22   October 16, 2017, at the hour of 4:00 p.m., be vacated and continued to a date and time convenient

23   for this Court, but in no event earlier than thirty (30) days.
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1            This stipulation is entered for the following reasons:

2            1.     The parties require additional time to discuss the potential for a pre-Indictment

3    negotiation.

4            2.     The Defendant is in custody, but does not object to the continuance.

5            3.     The parties need additional time to prepare in advance of any preliminary hearing,

     taking into account due diligence.
6
             4.     Denial of this request for continuance of the preliminary hearing would potentially
7
     prejudice both the Defendant and the Government and unnecessarily consume this Court’s
8
     valuable resources.
9
             5.     Additionally, denial of this request for continuance could result in a miscarriage
10
     of justice.
11
             6.     The additional time requested by this stipulation is excludable in computing the
12
     time within which the defendant must be indicted and the trial herein must commence pursuant
13
     to the Speedy Trial Act, 18 U.S.C. §§ 3161(b) and 3161(h)(7)(A), considering the factors under
14
     18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
15
             7.     This is the first request for a continuance of the preliminary hearing herein.
16

17   DATED: October 12, 2017.

18
     _______/s/___________________                         _______/s/___________________
19   CHRISTOPHER BURTON                                    REBECCA LEVY, ESQ.
     Assistant United States Attorney                      Counsel for Defendant FITZGERALD
     Counsel for the United States
20

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1                                UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3                                                  ***

4    UNITED STATES OF AMERICA,                      )         2:17-mj-918-GWF
                                                    )
                   Plaintiff,                       )         ORDER CONTINUING
5                                                   )         PRELIMINARY HEARING
                   v.                               )
6                                                   )
     MAURICE RASHADD FITZGERALD,                    )
                                                    )
7                                                   )
                   Defendants.
                                                    )
8
                                               ORDER
9
            Based on the pending Stipulation of counsel, and good cause appearing therefore, IT IS
10
     HEREBY ORDERED, that the preliminary hearing in the above-captioned matter, currently
11
     scheduled for October 16, 2017, at the hour of 4:00 p.m., be vacated and continued to
12                                                    4:00 p_____.m.
         November 16
     _____________________, 2017 at the hour of __________
13

14      Dated: 10/13/2017
                                                ________________________________________
                                                UNITED STATES MAGISTRATE JUDGE
15

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